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COUNSEL TO THE DEBTOR
AND DEBTOR-IN-POSSESSION

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

In re:                                                §    Chapter 11
                                                      §
ASCENT GROUP, LLC                                     §    Case No. 16-34436
d/b/a Physicians ER Oak Lawn,                         §
                                                      §
                    Debtor.                           §

                               CERTIFICATE OF NO OBJECTION
                                   [Related Docket No. 184]

          On August 23, 2017, the Debtor and Highland Park Emergency Center LLC d/b/a

Highland Park Emergency Room and Omega Emergency Physicians, PLLC (the “Proponents”)

filed their First Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a

Physicians ER – Oak Lawn [Docket No. 184] (the “Solicited Plan”).

          The Proponents hereby certify that: (a) the Solicited Plan was served electronically via

the Court’s PACER system on August 23, 2017, and was served on August 29, 2017 via first-

class mail on the parties listed on the Certificate of Service filed on August 29, 2017 at Docket

No. 192; (b) the Confirmation Objection Deadline of October 3, 20171 has passed; and (c) no




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  The Notice of Hearing to Consider Confirmation of First Amended Joint Chapter 11 Plan of Liquidation for
Ascent Group, LLC [Docket No. 190] defines the Confirmation Objection Deadline as October 3, 2017 at 5:00 PM
(CT).


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responses, objections, or requests for hearing regarding the Solicited Plan have been filed with

the Bankruptcy Court or otherwise submitted to the Proponents.


DATED: October 9, 2017                      Respectfully submitted,

                                            /s/ Matthew J. Pyeatt
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                                            AND DEBTOR-IN-POSSESSION



                               CERTIFICATE OF SERVICE

      I hereby certify that, on October 9, 2017, a true and correct copy of the foregoing
document was served electronically via the Court’s PACER system.

                                            /s/ Matthew J. Pyeatt `
                                            Matthew J. Pyeatt




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